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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.

               Plaintiffs,
                                                          DECLARATION
                      -vs-
                                                      Civil Action No.: 18-cv-719
CITY OF BUFFALO, et al.

            Defendants.
____________________________________________

       ROBERT E. QUINN, Assistant Corporation Counsel, of Counsel to Timothy A.

Ball, Esq., Corporation Counsel, under penalty of perjury and pursuant to 28 U.S.C. §

1746, declare the following to be true and correct:

       1.      I am an attorney licensed to practice law in the Courts of the State of New

York and in the United States District Court for the Western District of New York, and an

Assistant Corporation Counsel for the City of Buffalo, and I represent the Defendants in

this action.

       2.      As such, I am fully familiar with the facts and circumstances set forth below.

       3.      This Declaration is offered in opposition to Plaintiffs’ Motion to Compel

discovery pursuant to Fed.R.Civ.P. 37, filed on October 22, 2020. (Dkt. No. 66).

       4.      Defendants submit that we have responded to all requests and raised valid

objections, Plaintiff’s counsel has not adequately conferred in an effort to obtain the

discovery at issue, Plaintiffs have not met their burden on this premature Motion, which

seeks materials not reasonably accessible, and should therefore be denied.
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A. Defendants have timely responded to all Discovery Requests and acted in good faith.

      5.     The discovery sought by Plaintiffs has been extensive, involving multiple

large departments throughout the City of Buffalo and years of data, and we respectfully

submit that Defendants timely responded to their requests, in accordance with this

Court’s directions and Orders, in producing the appropriate materials at all times.

      6.     To date, Defendants have produced Twenty-Two Thousand Five Hundred

and Seven (22,507) pages of documents responsive to the Plaintiffs’ extensive requests,

which have been bates numbered COB000001-COB022507.

      7.     Specifically, the Defendants served their Responses to the Plaintiff’s First

Set of Requests for Production and First Set of Interrogatories on December 5, 2018. A

First Supplemental Response to Plaintiff’s First Set of Interrogatories was served on

February 5, 2019. A First Supplemental Response to First Set of Requests for Production

was served on March 15, 2019. A Second Supplemental Response to Plaintiff’s First Set of

Interrogatories was served on April 11, 2019. A response to Plaintiffs’ Second Set of

Requests for Production was served on May 19, 2019. Responses to Plaintiffs’ Second Set

of Interrogatories were served on September 12, 2019. Responses to Plaintiffs’ Third Set

of Requests for Production were served on September 25, 2019. On December 13, 2019

the Defendants served their First Supplemental Responses to Plaintiffs’ Third set of

Requests for Production. On June 11, 2020 the Defendants served their responses to

Plaintiff’s Fourth Request for Production of Documents. See, EXHIBIT A.

      8.     On December 19, 2020, the Defendants produced Lt. Joseph Fahey for a

deposition which resulted in a 261 page transcript.

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      9.     After initial ESI production, in order to continue to comply with this Court’s

order, and in light of the Covid-19 pandemic and workplace shutdowna, on March 22,

2020 your deponent purchased a laptop to process while the City’s buildings were closed.

      10.    The Defendants also contracted with a vendor to restore BPD email

accounts for retired and other identified custodians at a not insignificant cost, and your

deponent traveled to the vendor’s location on or about April 27, 2020, to retrieve the

restored data and have search capacity installed on the recently purchased laptop.

      11.    Since April of 2020, through uploading separate and individually named

PDF files to Plaintiffs identified fileshare site, the Defendants have produced well over

6,000 pages of ESI in accordance with the Courts order in a periodic and consistent

manner. Record of file uploads attached as EXHIBIT B.

      12.    As set forth in the extensive emails exchanged to during this period your

Deponant has communicated with Plaintiffs’ counsel on a near constant basis advising as

to the Defendants positions and the status of discovery.

      13.    It is also worth noting that on or about May 21, 2020, the Plaintiffs filed an

Amended and Supplemental Class Action Complaint (Dkt. 63), which the Defendants

Answered on June 4, 2020. (Dkt. 64)

      14.    Defendants have also continued all other searches during this period,

supplementing responses on October 2, 2020 and October 3, 2010 among other periodic

and consistent responses, though this search, particularly the search for paper documents

in City buildings while most employees worked from home has been complicated by the

Covid-19 pandemic. See, EXHIBIT C.

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      15.    Because of the amount and extent of discovery sought, and the fact that

your Deponent is the only attorney handling this matter during an unprecedented time

which a majority of our work force is unexpectedly working from home, and dealing with

the practical realities accompanying, this has likely taken slightly more than would have

occurred under normal circumstances, but we respectfully submit that it has been entirely

diligent and appropriate under any circumstances.

      16.    In addition to all of this ongoing discovery and production, at the time this

motion was made, your deponent understood the parties to be attempting to plan and

schedule additional depositions to move this matter forward. See, EXHIBIT D.

      17.    In fact, on the day this Motion was made, counsel for the parties conducted

a meet and confer on Plaintiffs’ request for consent to conduct at total of 70 depositions,

which Plaintiffs’ counsel had actually confirmed was only on the issue of depositions.

See, EXHIBIT E.

      18.    At the collusion of that meet and confer, Plaintiffs’ counsel mentioned for

the first time, “as a heads up”, that they would be making a Motion to Compel.

      19.    As memorialized in my subsequent email attached as Exhibit E, when your

deponent inquired as to the subject of that motion to compel, Plaintiffs’ counsel indicated

that “it was in the emails” and when your Deponent inquired as to the timing of that

Motion, they advised that it would be made later that night.

      20.    When I stated that I believed this was premature and inappropriate and

both Mr. Charney and Ms. Wilner stated my objection was “duly noted” without any

substantive or productive response, and later that night filed this voluminous motion.

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       21.    Your Deponant therefore has had to divert from actual discovery

production and scheduling depositions to offer this opposition, which we would

respectfully submit does little to help move this matter closer to a conclusion.

       22.    As one attorney in a small and busy municipal law department with limited

resources and manpower, responding to the Plaintiffs’ various discovery requests has

been a very large and taxing procedure in the normal course, and was certainly not the

only matter which requires our full attention and commitment of resources.

       23.    While we do not offer this as excuse, as with all other Americans,

particularly those with small children now learning from home, this period of time has

been one of unusual and unanticipated street and circumstances, which makes the timing

and manner of this particular Motion so troubling.

       24.    As   we   hope    is   evident,       Defendants   have     produced   extensive

documentation and have also provided extensive explanation and identification of the

potential information that exist and attempted to work through various aspects of this

discovery process, both through our meet and confers and in follow up communications.

       25.    While we understand that Plaintiffs’ allegations are wide-ranging, and that

discovery is a process and it is expected that a case like this would have extensive

documentation, we do not believe the constant attempts at gamesmanship and posturing

are productive in moving this case to its conclusion.

       26.    While we do not wish to burden the Court unnecessarily with oversight of

discovery, we do believe regular status conferences may be ultimately helpful in moving

forward discovery in a more practical and efficient manner.

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         27.   For all these reasons, undersigned respectfully submits that Defendants

have appropriately complied with this Court’s directions and orders, responding to all of

Plaintiffs’ demands in good faith, and the Motion should be denied in its entirety.


I. ESI

         28.   With respect to the ESI, Defendants will comply with whatever schedule

the Court believes is reasonable and appropriate and respectfully ask for guidance in this

regard if considered appropriate under the facts and circumstances.

         29.   We have been able to continue this through ought the Covid-19 pandemic

by remote computer access and the fact that the Defendants took the affirmative steps

described above, though it has been impacted by other obligations and the general

increase in pace and activity of other litigation as we adapt to our present circumstances.

         30.   The current process is that your Deponent searches individual accounts by

the terms provided, prints each individual email to PDF, and then bates numbers each

document through Adobe Pro and uploads to the filesharing site identified by Plaintiffs.

         31.   The pace of this production process is generally demonstrated by Exhibit B,

though is impacted by the particular search terms and size of the custodian accounts

searched, in addition to the regular circumstances impacting the pace of work.

         32.   For additional context and the Court’s consideration, the Defendants’ most

recent production of Lt. Kimberly Beaty ESI is described in the emails attached as

EXHIBIT F.




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       33.    These emails are taken from a data set of what appears to be 42,489 separate

emails contained within Lt. Beaty’s account. The actual size of the file appears to be

“6,711,552 KB”. It has taken approximately two weeks to process the account up to this

point, and 11 of the search terms have not been completed.

       34.    I would also note that, depending on the account, some search terms can

have an usually large number of hits. For instance, a recurring listserv email which

contains a phrase like “update your profile” can cause a disproportionate number of

responses for “profil”. The search term “rac” can also have unusual clusters.

       35.    The number of hits for a particular search term depends on the particular

accounts searched, and some generally have far more hits than others in each account,

but it is not entirely consistent (i.e., some have more this for BMHA, etc., some don’t)

       36.    As a rough estimate, I would anticipate that the Defendants are somewhere

close to 50% complete with the search terms and custodians.

       37.    The basis for this belief is through prior production pace, remaining

custodians and number of expected hits, forming a rough estimates of the work to be

completed. This does not yet amount to 50% of the custodians and/or terms, but we have

been focused our efforts on going through the larger accounts to expedite production.

       38.    As I have indicated to Plaintiffs’ Counsel on several occasions without

response, if there is a certain order they want those accounts searched we will be happy

to comply, but I have not heard back so we have continued to process in most expedient

manner possible. I would again suggest that focusing on particular accounts could also

allow us to move forward with depositions.

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       39.    While we will make every effort to comply with whatever schedule set by

the Court deemed appropriate, it is my best estimation that we can largely conclude the

remaining custodians and terms by the end of this year.

       40.    With that said, there are outliers and unexpected issues that have already

come up in this process, so it is certainly possible that not everything would be 100%

completed by that point, but we will make every effort to comply if the court feels

appropriate, and belief in good faith that production could be mostly completed by then.

       41.    I do not believe that the period requested by Plaintiff’s counsel would be

feasible or appropriate under the present circumstances and upon information and belief

any other method would result in additional, unnecessary, and exorbitant costs.

       42.    With respect to the spreadsheet requested, as previously stated to Plaintiff’s

counsel, we are not objecting to providing some type of spreadsheet, and will provide

whatever information is appropriate but ask that it be reasonably balanced with the time

and effort required to put it together.

       43.    It has been our focus to produce the actual ESI and our intention to provide

some type of spreadsheet at a later date, as the process of putting one together and

updating, will substantially delay the current pace of production, and the information

which is readily apparent from the documents produced themselves, but if that’s not

appropriate we will adjust in whatever way deemed appropriate by the court.

       44.    The suggested spreadsheet and information seems reasonable and we will

provide if and when the Court deems appropriate, but we ask that the document be

required after production of the ESI or at some periodic interval to minimize the burden.

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II. IAD Files

       45.      In accordance with this Court’s Order, your Deponant has produced all

identified IAD files that were able to be located through diligent search and we

respectfully submit that Defendants have fully complied with this Court’s Order.

       46.      Plaintiffs’ are correct that not all of the IAD files previously identified were

produced and, as I have indicated to them on several occasions, it is my understanding

that the files not produced were previously destroyed per record retention policies.

       47.      IAD files are maintained in Police Headquarters the by the Internal Affairs

Division and it is my understanding that they are kept in paper copy only, but record of

each file’s creation is kept in the IAPro system, which is why and how they were

previously identified but no longer exist in full paper copy.

       48.      The actual IAD files produced to Plaintiffs’ were scanned copies of the

paper files kept in the ordinary course by the Internal Affairs Division that were able to

be located, and we have retained and preserved those hard copies to date.

       49.      Following this issue being brought to light by Plaintiffs’ counsel, follow-up

up searches for each identified file was conducted, and inquiries were made to determine

if electronic or other copies of the files were kept, and we have been unable to locate any

such copies to date and it is my understanding that none exist based on record retention.

       50.      It is also my understanding that there are no records kept of the date of

destruction and therefore we are unable to produce any such records, but do expect that

individuals in the Internal Affairs Division would be able to testify as to all these matters

if deemed appropriate by this Court.

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       51.    Your Deponent has also inquired about the existence of a document

retention policy, and am still searching for any and all applicable documentation, but do

not have final information on this subject at the time of this Declaration.

       52.    Unfortunately, as I have previously indicated to the Plaintiffs’ Counsel, this

particularly search has been impacted by the timing of the Covid-19 pandemnic, and

specifically the fact that most employees are still working from home, which we are

working diligently to overcome.

       53.    If and when we locate the applicable record retention schedule we will

produce the same with any other appropriate information determined.

       54.    We would respectfully suggest that the request for affidavits and other

information is premature, but certainly understand and expect that this topic could be

explored through deposition testimony and or other discovery devices as appropriate,

and respectfully suggest that it be fully explored firth by all parties, and further

addressed if needed after that, based on a full understanding of the circumstances.

       55.    If the Court disagrees and believes it is ripe to be addressed now, we will

comply in whatever manner deemed appropriate but would request a reasonable amount

of time to do so under the present circumstances and in light of the multitude of other

requests and issues in this case.




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III. Other Discovery

   A. Housing, Traffic Unit, and Strike Force Monthly Reports and Dailey Reports.

      56.    With respect to the Housing, Traffic Unit, Strike Force Monthly, and Daily

Reports, this Court has previously decided that the Plaintiffs failed to demonstrate

entitlement to those records and their renewed motion, while more limited in scope, the

motion still fails to demonstrate the basis for why these materials are discoverable and

should therefore be denied again.

      57.    With that said, as a showing of good faith we have in fact engaged in

discussion on producing those materials, and will continue to do so regardless of the

Court’s decision, because it is our sincere hope to move this discovery process forward.

      58.    If there are any limitations on the Defendants abilities to do so, it is not out

of desire to avoid discovery, but a simple lack of time to comply with all of Plaintiffs’

various discovery demands, arguments, and accusations, at the same time.

      59.    For these reasons, we again bring up the unfortunate timing of this Motion,

which was brought without notice a few hours after the Defendants made time and

expended efforts to work towards a reasonable resolution to Plaintiffs entirely premature

and inappropriate request to consent to 70 depositions after only 1 had been conducted.

      60.    As set forth above, the Defendants have limitations on time and resources

available in responding to Plaintiffs requests and we would think that all parties could

agree that those resources would be better served in searching for and producing

discovery materials and not responding to unnecessary and theatrical motion practice.




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       61.    I would note that this is not meant to avoid the question, or an ultimate

decision on these materials, and if the Court feels that the redaction compromise is

appropriate we’ll comply regardless of the appropriateness of a Motion to Compel to

avoid having to revisit this issue again, but would just request a reasonable timeline.


   B. Employment History.

       62.    Defendants have objected to the requested information on several grounds,

we have provided more than enough information and documentation already on these

issues through documents and interrogatories, and Plaintiffs’ Motion fails to demonstrate

why this additional information is material or needed to prosecute their claims.

       63.    The individuals requested are not named parties, include every officer

assigned to several divisions within the Police Department over the course of several

years, and as we have previously indicated to Plaintiffs’ counsel your deponent is

unaware of any reasonably practicable way to determine this information other than

through searching what has previously been provided.

       64.    With that said, prior to the pandemic your Deponent had made several

attempts to locate this information and, regardless of this Court’s decision on the Motion,

we will continue to undertake that effort to hopefully avoid this repeated, unnecessary,

and time consuming motions so that this matter could be moved forward.

       65.    As I have previously indicated, upon information and belief, the only

remaining, if not precise method of determining the dates of assignment to the Housing




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Unit and Strike Force would be to check daily manpower reports to see if a particular

officer is noted on a particular day.

       66.    We have searched but are currently unaware of a similar method for Traffic.

       67.    This method would be time consuming, and would not be entirely precise

because the information is not necessarily synchronous, (i.e, it could only tell you if a

particular officer worked that day, not when they were assigned and when they left,

whether they were on leave, if they spent a period in another assignment, etc.) however

it could be attempted if given direction and time by the Court.

       68.    I would note, that this method would have to be undertaken for each officer

if the Plaintiffs sought some type of confirmation of their all their conclusions, but could

be done more expediently if it was for specifically identified officers.


   C. Complaints to Commission on Citizens Rights

       69.    While valid objections were raised to these requests, in an effort to avoid a

discovery dispute, searches for these materials have in fact previously been completed,

and will continue as discovery moves forward, but we are simply not aware of any

responsive documents at this time.

       70.    Multiple searches for all documents related to the Commission were

completed by your Deponent and I have in fact spoken with the current executive director

in an attempt to determine the possible location(s) of additional materials, but thusfar we

have not been successful in locating any “complaints”.




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       71.    Defendants have turned over all materials which were able to be located

which were related to the Commission in our First Supplemental Responses to Plaintiffs’

Amended Third Set of Requests for Production. See, EXHIBIT A, COB010009-

COB0100043.

       72.    It is my understanding that “complaints”, if they exist in paper form, would

not have been filed or stored electronically by the Commission or any other City body,

and Defendants are currently attempting to determine possible physical locations of

those materials.

       73.    This search has been complicated by the relatively recent appointment of

the current Director, and particularly for this request by the ensuing Covid-19 pandemic

and resulting closure of City buildings, suspension of certain meetings of the Committee

during the shutdown, and a large majority of our workforce still working remotely.

       74.    Your Deponant has advised Plaintiffs’ counsel that if any when responsive

complaints are located, they will be provided, however we are simply not in possession

of any at this time so there is nothing to be turned over.

       75.    We therefore submit that this portion of the Motion should be denied.



D.     RFP 76 and Fourth Requests for Production

       76.    Plaintiffs’ reference to the Defendants’ response on RFP 76 and Fourth

Requests for Production as a “boilerplate” is disingenuous.




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       77.     There have been extensive objections and discussions with respect to this

specific requests in RFP 76 and the general requests for “grant” information during the

course of this litigation.

       78.     We attach a sample of reflective communications as EXHIBIT G to

demonstrate our objections and the lengths we have gone through great extents to work

through any potential discovery disputes on that specific issue.

       79.     Notwithstanding our valid objections to this broad request, Defendants

described the universe of grants throughout these emails, and provided examples of what

type of documentation exists in the attachments to my February 3, 2020 email, which are

not included herewith because they are extensive and we would submit irrelevant.

       80.     Despite all of these efforts, which Plaintiffs ignore and pretend don’t exist

in their motion, Plaintiffs’ fail to offer any explanation or demonstration as to why they

would be entitled to the exceedingly vague and broad request for all “Documents relating

to activities conducted by Defendants pursuant to Federal Grants…”

       81.     As such, the Plaintiffs have not come close to demonstrating grounds for

this request and this portion of the Motion should be denied.

       82.     Similarly, the description of the Defendants responses as “boilerplate” is

misleading. Specifically, it fails to provide the Court with a fair and accurate description

of the discovery process or interactions between the parties.

       83.     The Defendants responded to Plaintiffs’ Fourth Set of Requests in a timely

manner, after conducting appropriate searches, and raising various objections, and



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Plaintiffs’ have not substantively attempted to work through those objections in a good

faith manner so this portion of the Motion is particularly premature and unfounded.

      84.    The Defendants’ Response was sent via email on June 11, 2020. That email

is included in EXHIBIT H, and provides as follows:

      See attached Responses to your Fourth Set of Requests for Production. In
      addition to these responses, in an effort to move things forward, I also
      offer these general observations:

      The demands relating to grants are the same objections we’ve been
      discussing.

      The demand relating to the Erie Crime Analysis Center is broad, but I’m
      still looking into how much documentation would be responsive, so that
      is something I will follow up on. I would expect that limiting the demand
      would help, but want to know more about what exists before discussing
      that.

      Demand relating to “directives” is objected to as I’m unclear what would
      be included in that term. If there is a specific document or form that you
      are referring to, please let me know. I’m still looking for potentially
      responsive documents on this so, if “directives” is just being used
      generally it would be helpful if you could define further, so I can make
      sure to conduct all appropriate searches.

      Demand relating to stopped vehicles is broad and vague, and based on
      looking into prior demands I don’t expect we have any compilations or
      capacity to search for these categories, but I’d like to do more digging
      before I say for sure. I will follow up on this.

      Demand relating to BMHA parking lots is broad and vague in what is
      being requested (e.g., “citations”, “concerning”) so that would be
      something to discuss later, but I’d like to first determine if there is any
      ambiguity in what a BMHA parking lot is and if there’s any way to
      determine what tickets were issued in them. I am still looking into these
      questions and we should discuss after I know more.

      Thanks.

      Rob Quinn.

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      85.    Respectfully, Defendants had no obligation to take this affirmative step of

trying to immediately move the conversation forward and offer specific concerns and

thoughts, but we did so in a good faith attempt to inform and avoid this exact situation.

      86.    While we understand that litigation is adversarial, this is a discovery

motion, not one Summary Judgment, and mischaracterizing proceedings is not helpful

to anyone, most particularly the Court.

      87.    The fact this email is not reflected, and in fact actively avoided and an

attempt to describe response as “boilerplate”, is telling and we would submit grounds

alone to deny this Motion for failure to make their own good faith efforts.

      88.    Even more strikingly, Defendants subsequent June 23, 2020 email, which

Plaintiffs describe as “Defendants were still searching for documents in response to the

requests and would advise when those searches were complete”, omits the following:

       For 85 and 86, I’m searching but we have raised objections relating to
       the Grant requests, as we’ve discussed, so we may have to stand on
       those objections if unable to resolve. I need to know more about what
       exists and how its searchable first.

       For 87-93 I’m still searching (unfortunately we’re still not back in the
       office) and will advise once the search is complete. Won’t reiterate
       was I said below but its likely we’ll have to discuss some of these
       requests more fully before anything is turned over because of search
       capacity, breadth, and burden issues.

       Specifically, I now have a better idea of what ECAC produces and I
       expect to reiterate objection on burden and breadth, among other
       things. It’s my understanding that there are several
       daily/weekly/monthly reports that contain a variety of information,
       much of it general. I’m still trying to determine how these are


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        maintained, what exactly they contain, and what type of search is
        possible, so will advise once I know that.

        The “directives” request is mostly just objecting to the word and
        asking for clarity on what you want searched, as opposed to the scope
        of the request its self. I am searching and if we find anything expect
        to be able to turn it over.

        The BMHA property objection is primarily based on my
        understanding that we don’t maintain records and information by
        that category and are unable to search for it.


       89.    For these reasons in particular, we would submit that any request for

attorney’s fees, costs, etc., is completely inappropriate and unwarranted under the

circumstances and should be denied.

       90.    With that said, our specific objections to these requests are described in the

emails and above, so we will not reiterate them here, and the Motion should be denied

on its merits for failure to demonstrate their burden.

       91.    Moreover, while meaningful searches are made impossible by Plaintiffs’

failure to address or respond to the Defendants’ objections, we have not specifically

withheld any materials of which we are aware of which would respond to these various

requests in RFP 86, 87, 88, 89, 91, 92, or 93.

       92.    We would also offer that, to the extent that Defendants were in possession

of any materials which could possibly be responsive to these objectionable and vague

demands, they have previously been provided (i.e., Traffic Safety Checkpoint Tally

Sheets depending on how Plaintiffs’ wanted to define the terms).




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      93.    Again, this is not an effort to avoid discovery or hide the ball, we have and

will make every effort to respond to these requests if Plaintiff limits or address our

responds to our but based on our understanding of what is being sought, the requests are

improper.



IV. Erie Crime Analysis Center

      94.    Without waiving any of these objections or arguments, in a further effort to

move things forward, we will specifically address the RFP 88’s request for materials

generated by Erie Crime Analysis Center (“ECAC”).

      95.    Again, the specific request is overbroad and otherwise objectionable and

this portion of the Motion should be denied as the Plaintiffs’ fail to make any showing as

to why this vaguely identified materials are discoverable.

      96.    With that said, on Monday November 2, 2020, Plaintiffs’ counsel forwarded

a letter/subpoena response from James Giammaresi, Director of the Erie Crime Analysis

Center. A copy of that letter and corresponding email is attached as EXHIBIT I.

      97.    As the Court may be aware, ECAC is one of several other agencies that the

Plaintiffs’ have subpoenaed voluminous materials from, allegedly in connection with this

lawsuit, but they are not employees of or represented by the City of Buffalo.

      98.    Plaintiffs claim that this response specifically relates/informs to this

particular Request, and while we disagree with their conclusions, we therefore include

and address in the interest of clarifying and avoiding illusory discovery issues.




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       99.    Following receipt of this letter from Plaintiffs’ Counsel, your deponent

contacted Mr. Giammaresi to inquire into this letter and his understanding the extent and

existence of potentially responsive materials given some of the statements made therein.

       100.   I should state, I’m not attempting to speak for Mr. Giammaresi, only to

provide the Court with information about our efforts and this entity as it may be, as I

previously was, unaware of ECAC’s role and capacities.

       101.   Upon information and belief, ECAC does not work exclusively with the

Buffalo Police Department, but provides services to other law enforcement organizations

in the region on countless efforts and topics.

       102.   It is my understanding that ECAC is funded and staffed by the New York

State Division of Criminal Justice Services, and is one of several Crime Analysis Center’s

located throughout the State, which are apparently designed to be centrally located,

multi-jurisdictional ventures capable of conducting in-depth regional analysis of crime

and sharing results of those analyses with local partners and other public safety officials.

       103.   As indicated in Mr. Giammaresi‘s letter, confirmed by our recent

conversation, and as I previously advised Plaintiffs’ in Exhibit H and described above, it

is your Deponent’s understanding that the identified materials could consist of several

different types of daily, monthly, and other periodic reports.

       104.   From speaking with Mr. Giammaresi and through my own investigation, it

is my understanding that none of these periodic reports would specifically relate to traffic

enforcement or checkpoints, but would more generally be described as pertaining to



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things like general crime statistics, violent crime, domestic crime, and gun violence, and

investigation into specific crimes and or suspects.

       105.   As indicated in his letter, and confirmed by my own investigation, Mr.

Grammisie advised that the work completed in connection with the Buffalo Police

Department was wide, varied, and extensive.

       106.   Specifically Mr. Giammaresi advised that the “products” generated by

ECAC, essentially projects, actions, reports, etc., in connection with the BPD during the

relevant time period could exceed fifty thousand distinct entries on an wide variety of

topics that are largely if not entirely unrelated to the allegations in this lawsuit.

       107.   It is my understanding that this presumably forms the basis for Mr.

Giammaresi’s letters conclusion that “[e]ven if we were able to access the records, the

subpoena is so broad that it is impossible to answer. It would take an enormously futile

effort to find, review and produce over seven years of period reports, daily reports,

documents, data and maps.”

       108.   To be clear, the Defendants did not object based on a claim of custody, or

that they are not able to search for responsive materials, and the portions of this letter

which talk about control of data, etc., have not significance in the context of this Motion,

but Defendants do agree with this characterization and objection to the extent of the

requests, and the Motion should therefore be denied as overly broad and burdensome as

further demonstrated by Mr. Giammaresi’s letter.




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       Wherefore, Defendants seek an Order of the Court denying Plaintiffs’ Motion, in

whole or in part, affording additional time and instruction on production, denying costs,

attorneys fees, etc., and such other and further relief as the Court deems necessary and

warranted under these circumstances.


Dated: November 6, 2020
       Buffalo, New York
                                                TIMOTHY A. BALL, ESQ.
                                                Corporation Counsel


                                                /s/Robert E. Quinn
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.

              Plaintiffs,
                                                   CERTIFICATE OF SERVICE
                     -vs-
                                                    Civil Action No.: 18-cv-719
CITY OF BUFFALO, et al.

            Defendants.
____________________________________________

      I, Robert E. Quinn, hereby certify that on November 6, 2020 the annexed document
was electronically served on Counsel for the Plaintiffs in this case through the CM/ECF
system:

                         Claudia Wilner, Esq.
          NATIONAL CENTER FOR LAW AND ECONOMIC JUSTICE
                    275 Seventh Avenue, Suite 1506
                         New York, NY 10001
                           wilner@nclej.org

I certify under penalty of perjury that the foregoing is true and correct.

Dated: November 6, 2020
       Buffalo, New York

                                                  TIMOTHY A. BALL, ESQ.
                                                  Corporation Counsel


                                                  /s/Robert E. Quinn
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